                       Case 18-15891-LMI         Doc 27     Filed 06/15/18     Page 1 of 2




      ORDERED in the Southern District of Florida on June 15, 2018.




                                                       Laurel M. Isicoff
                                                       Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

       In re:                                              Case No. 18-15891-BKC-LMI

       MAURICE SYMONETTE,                                  Chapter 7

                  Debtor.
       ________________________________/

                         ORDER DENYING DEBTOR’S EMERGENCY MOTION
                            TO CHANGE CREDITORS MEETING DATE

                This matter came before the Court upon Debtor’s Emergency Motion to Change

      Creditors Meeting Date (ECF #26) (the “Motion”) filed on June 15, 2018. In the Motion, the

      Debtor requests that this Court change the date of his 341 meeting of creditors (the “341

      Meeting”). The 341 Meeting is scheduled for June 19, 2018.

                The Court has reviewed the Motion, the record, and all relevant matters. It is

                ORDERED AS FOLLOWS:

                1.     The Motion is DENIED without prejudice.
                 Case 18-15891-LMI             Doc 27       Filed 06/15/18         Page 2 of 2



        2. The Debtor is directed to resolve the 341 Meeting scheduling matter with the Chapter

            7 Trustee. In the future, the Debtor must resolve 341 meeting of creditors scheduling

            conflicts with the Chapter 7 Trustee prior to filing motions with the Court.

                                                            ###

Copies furnished to:
Maurice Symonette, pro se Debtor

                      The Clerk of Court shall serve a copy of this order upon all parties in interest.
